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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


IN RE:

LEAVE OF ABSENCE REQUEST                        CASE NO.: CR 115-106

ALEX M. BROWN
April 6,2016
April 19,2016 - May 2,2016
May 19,2016 - May 20,2016
June 3,2016 - June 6,2016
July 25,2016 - August 12,2016
August 18,2016 - August 19,2016
October 31,2016 - November 8,2016
December 16,2016 - December 30,2016
January 5,2017 - January 6,2017
March 9,2017 - March 13,2017


                                       ORDER


       Upon consideration of the Motion for Leave of Absence filed by Alex M. Brown

in the above-cited case as counsel for Defendant, DEMOND COBB, for April 6, 2016,

April 19,2016 through May 2,2016 and May 19,2016 through May 20,2016, June 3,

2016 through June 6,2016, July 25,2016 through August 12,2016, August 18,2016

through August 19,2016, October 31,2016 through November 8,2016, December 16,

2016 through December 30,2016, January 5,2017 through January 6, 2017 and March 9,

2017 through March 13,2017 for vacation outside of the District and for prior

commitments, the same is hereby GRANTED.

       Respectfully submitted this   ^0^ day of A/I^UcJ\                  .,2016.




                                            J. RANDAL HALL'
                                            UNITED STATES DISTRICT JUDGE
                                              )UTHERN DISTRICT OF GEORGIA
